Filed 8/21/24 Barrelet v. Liu CA4/1
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                COURT OF APPEAL, FOURTH APPELLATE DISTRICT

                                                 DIVISION ONE

                                         STATE OF CALIFORNIA



 BLAISE BARRELET, as Trustee, etc.,                                   D083088

           Plaintiff and Respondent,

           v.
                                                                      (Super. Ct. No. 37-2022-
 WEI LIU,                                                             00043748-CU-BC-CTL)

           Defendant and Appellant.


         APPEAL from an order of the Superior Court of San Diego County,
Carolyn M. Caietti, Judge. Affirmed.
         Neufeld Marks and Paul S. Marks for Defendant and Appellant.
         Jenny Li, Neil Kalin and Joseph Yoon, for California Association of
Realtors, as Amicus Curiae on behalf of Defendant and Appellant.
         Scudi &amp; Ayers and J. Ray Ayers for Plaintiff and Respondent.
         Wei Liu appeals from an order denying her motion to compel
arbitration. Liu purchased a private residential property from Blaise
Barrelet, as Trustee of the Barrelet Family Trust (Barrelet) and, as part of
the transaction, agreed to lease the property back to Barrelet for one month.
In connection with the sale, the parties executed a Residential Purchase
Agreement (the purchase agreement) and a Residential Lease After Sale (the

lease agreement).1 Pursuant to the lease agreement, Barrelet provided a
$40,000 security deposit to be held in escrow. When a dispute arose over the
condition of the property, Liu refused to return the deposit. Barrelet filed a
complaint for breach of contract, conversion, and wrongful retention of the

security deposit in violation of Civil Code section 1950.5.2 Liu moved to
compel arbitration based on a clause in the purchase agreement. The trial
court concluded the lease agreement was subject to California substantive
law, despite a clause in the purchase agreement indicating the parties agreed
to follow the procedural laws set forth in the Federal Arbitration Act (the
FAA). The trial court further concluded that section 1953, subdivision (a)(4)
voided any agreement between the parties to arbitrate tenancy related
claims. Liu asserts this was error. We disagree and affirm.
            FACTUAL AND PROCEDURAL BACKGROUND
      In March 2022, Barrelet and Liu entered into the purchase agreement
and lease agreement. Per the written agreements, Liu agreed to purchase a
residential property from Barrelet for $9.5 million, with a loan amount of
$5.7 million and the balance due at escrow. The lease agreement provided
that Liu agreed to lease back the property to Barrelet for 30 days after the
close of escrow. The lease agreement lists the rent amount as “free,” but
states Barrelet agreed to pay $40,000 through escrow as a security deposit.
It states further that the security deposit could be used to repair damage


1     Both agreements were executed using standard forms provided by the
California Association of Realtors. We have read and considered the amicus
curiae brief submitted by the California Association of Realtors and
Barrelet’s response.

2     Further unspecified statutory references are to the Civil Code.

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caused by Barrelet or his guests; to clean the property, if needed, upon
termination of the lease; or to replace or return personal property or
appurtenances.
      The lease expired on May 18, 2022, and Barrelet vacated the property.
A dispute arose shortly thereafter concerning the condition of the property,
and Liu withheld the return of Barrelet’s security deposit as a result.
Barrelet sent a written demand through counsel for return of the security
deposit, and the parties participated in mediation but were unable to resolve
the dispute. On October 31, 2022, Barrelet filed a complaint against Liu
asserting breach of contract; breach of implied covenant of good faith and fair
dealing; conversion; and failure to return a security deposit in violation of
section 1950.5. He asserted Liu had not provided an itemization of
deductions or any evidence she was withholding any portion of the deposit for

any permissible reason under section 1950.5, subdivision (b).3
      Liu filed a motion to compel arbitration in response. She relied on an
arbitration clause in the purchase agreement and asserted the purchase and
lease agreements were executed together, as part of a single transaction. She
explained that she was pursuing arbitration regarding her claims as to the
condition of the property, but Barrelet’s counsel had indicated the claims in
his complaint were not subject to arbitration. Liu agreed that the assertion
was “not facially absurd” since the lease agreement did not contain an
arbitration provision, but maintained that the arbitration provision in the
purchase agreement applied to the lease. Liu’s counsel provided a




3     Section 1950.5 “applies to security for a rental agreement for
residential property that is used as the dwelling of the tenant,” to be used as
specified in subdivision (b).

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declaration in support of the motion and attached copies of the purchase and
lease agreements.
      The purchase agreement states, in paragraph 27, “Except as Otherwise
Agreed, this Agreement shall be interpreted, and disputes shall be resolved
in accordance with the Laws of the State of California.” Paragraph 30 of the
purchase agreement is titled “MEDIATION,” and states, in relevant part,
“The Parties agree to mediate any dispute or claim arising between them out
of this Agreement, or any resulting transaction, before resorting to
arbitration or court action.”
      Paragraph 31 of the purchase agreement is titled “ARBITRATION OF
DISPUTES.” It has five subsections, A through E, and appears in bold face
print with a box around it. Both parties initialed inside the box. Subsection
A states, in relevant part: “The Parties agree that any dispute or claim in
Law or equity arising between them out of this Agreement or any resulting
transaction, which is not settled through mediation, shall be decided by
neutral, binding arbitration. . . . Enforcement of, and any motion to compel
arbitration pursuant to, this agreement to arbitrate shall be governed by the
procedural rules of the Federal Arbitration Act, and not the California
Arbitration Act, notwithstanding any language seemingly to the contrary in
this Agreement. The Parties shall have the right to discovery in accordance
with Code of Civil Procedure § 1283.05. The arbitration shall be conducted in
accordance with Title 9 of Part 3 of the Code of Civil Procedure.”
      The lease agreement contains a mediation clause, like the one in the
purchase agreement, but does not contain any language concerning
arbitration.
      Barrelet opposed Liu’s motion to compel arbitration. He argued the
arbitration provision in the purchase agreement did not apply because


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agreements to arbitrate tenancy rights are void as against public policy
under section 1953, subdivision (a)(4). In the alternative, he asserted the
purchase and lease agreements were separate agreements and there is
nothing in the lease agreement requiring arbitration.
      After hearing argument, the trial court denied Liu’s motion to compel
arbitration. The court found that the arbitration provision in the purchase
agreement applied to the lease but that the provision expressly stated the
agreement to arbitrate would be governed by the procedural rules of the FAA.
The court agreed with Barrelet that both agreements were governed by
California substantive law, and that section 1953, subdivision (a)(4)
invalidated the arbitration clause to the extent it purported to require
arbitration of tenancy related claims.
      Liu filed a timely notice of appeal.
                                DISCUSSION
      Where, as here, there is no conflicting extrinsic evidence, we review
both the trial court’s interpretation of an arbitration agreement and the
question of whether it is precluded by a statute independently, under a de
novo standard of review. (See Harris v. University Village Thousand Oaks
CCRC LLC (2020) 49 Cal.App.5th 847, 852 (Harris); DMS Services, LLC
v. Superior Court (2012) 205 Cal.App.4th 1346, 1352.)
      We turn first to the interpretation of the written contract. “Our
objective in construction of the language used in the contract is to determine
and to effectuate the intention of the parties. [Citation.] It is the outward
expression of the agreement, rather than a party’s unexpressed intention,
which the court will enforce.” (Winet v. Price (1992) 4 Cal.App.4th 1159,
1166.) We are cognizant that under both California and federal law, there is
a “strong public policy in favor of arbitration as an expeditious and cost-


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effective way of resolving disputes.” (Avila v. Southern California Specialty
Care, Inc. (2018) 20 Cal.App.5th 835, 843; see also St. Agnes Medical Center
v. PacifiCare of California (2003) 31 Cal.4th 1187, 1195 [recognizing federal
and state public policies in favor of arbitration].) At the same time, it is
essential to the proper operation of that policy that “ ‘[t]he scope of
arbitration is . . . a matter of agreement between the parties.’ ” (Moncharsh
v. Heily &amp; Blase (1992) 3 Cal.4th 1, 8.)
      The federal policy favoring arbitration is codified by the FAA and the
California policy is codified in the California Arbitration Act (CAA). Because
they share common origins, the FAA and CAA are similar in many respects.
(See Cable Connections, Inc. v. DIRECTV, Inc. (2008) 44 Cal.4th 1334, 1343.)
“Section 2 of the FAA, declaring the enforceability of arbitration agreements,
‘create[s] a body of federal substantive law of arbitrability, applicable to any
arbitration agreement within the coverage of the Act,’ ” and typically governs
contracts involving interstate commerce. (Cable Connections, at pp. 1350-
1351.) Sections 3, 4, 10 and 11 of the FAA are considered procedural
provisions, and generally do not apply in state court, unless the parties
expressly agree otherwise. (Cable Connections, at p. 1351; Victrola 89, LLC
v. Jaman Properties 8 LLC (2020) 46 Cal.App.5th 337, 345.)
      Here, the trial court found the parties expressly agreed that the
procedural rules of the FAA, and not the CAA, would govern the agreement
to arbitrate. They also agreed that California law would govern, more
generally, “[e]xcept as otherwise agreed.” Thus, as the trial court concluded,
the plain language of the agreement indicates the parties intended for
substantive California law to govern in general and for federal procedural law
as set forth in the FAA to govern in the context of the agreement to arbitrate.




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      On appeal, Liu asserts this was error and that the substantive rules of
the FAA also govern the agreement to arbitrate. She states the FAA applies
to contracts that involve interstate commerce and where the contract itself
states that the FAA applies, but she does not argue the FAA applies based on

the language of the contract at issue here.4 Rather, Liu asserts the FAA
governs because the transaction involves interstate commerce. The authority
she relies upon does not support her position.
      In Allied-Bruce Terminix Cos. v. Dobson (1995) 513 U.S. 265 the United
States Supreme Court interpreted section 2 of the FAA broadly to “reach
expansively as coinciding with that of the Commerce Clause.” (Allied-Bruce,
at p. 274.) There, the parties agreed that materials used in the transaction
came from out of state, and therefore the contract involved interstate
commerce. (Id. at p. 282.) The contract at issue here concerned only the sale
and one month lease back of a single-family residence between two California
residents in the state of California.
      In Hedges v. Carrigan (2004) 117 Cal.App.4th 578, the court applied
the broad language in Dobson to conclude that a residential purchase
involved commerce within the meaning of section 2 of the FAA, but that
transaction involved a loan from the Federal Housing Administration,
making it subject to federal litigation. (Hedges, at p. 586.) In reaching that
conclusion, the court noted, “No doubt the connection with interstate
commerce in this case is not as strong as in others.” (Id. at p. 587.) Likewise,



4     We note that in her motion to compel arbitration, Liu argued that the
FAA applied based on the language in the purchase agreement. The trial
court stated, in its written decision, “[Liu’s] arguments do not recognize the
distinction between the procedural provisions under the FAA and the
substantive provisions.” Liu does not address this point on appeal.

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in Citizens Bank v. Alafabco, Inc. (2003) 539 U.S. 52, the Court found a debt
restructuring agreement—although executed between parties that were both
in Alabama—involved interstate commerce because, among other reasons,
“Alafabco engaged in business throughout the southeastern United States
using substantial loans from the bank that were renegotiated and
redocumented in the debt-restructuring agreements.” (Id. at p. 57.)
      Liu argues the purchase agreement here specifies a loan amount and
asserts that any loan must necessarily impact commerce. Other than that
general statement in the purchase agreement, there is no evidence in the
record before us on appeal specifying the type of loan Liu obtained, or even
confirming that she did in fact obtain a loan. As the party moving to compel
arbitration and the appellant, Liu had, and has, the burden to establish the
existence of a valid contract to arbitrate and error on appeal. (Meridian
Financial Services, Inc. v. Phan (2021) 67 Cal.App.5th 657, 684; Engalla
v. Permanente Medical Group, Inc. (1997) 15 Cal.4th 951, 972.) In the
absence of any information regarding the alleged loan involved in the
transaction, Liu has not met that burden here.
      Liu also relies on an unpublished federal district court order denying a
motion for reconsideration concerning arbitration in which the court relied on
Russell v. United States (1985) 471 U.S. 858 for the proposition that “ ‘[r]ental
of residential real estate is “unquestionably” an activity that affects
interstate commerce.’ ” (Payan v. Owen Village, LLC (Sept. 20, 2022) 2022
WL 17216827 at *1.) Russell is a criminal case in which the defendant
wrongly asserted an apartment building that he owned and treated as a
business was not a commercial property. (Russell, supra, 471 U.S. at p. 859.)
It is not applicable here and it does not stand for the proposition that any
rental of residential property necessarily involves interstate commerce under


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the FAA. If that were the case, the FAA would always preempt California
law regarding tenancy but even the court in Payan acknowledged that
California law can sometimes apply to tenants of residential premises.
(Payan, supra, 2022 WL 17216827 at *1.) In addition, like Russell, Payan
concerned a commercial apartment building, not an individual lease of a
single-family residence. (See Payan v. Owen Village, LLC (July 12, 2022)
2022 WL 18278603 at *1.)
      For the foregoing reasons, we agree with the trial court’s conclusion
that the arbitration agreement at issue here is governed by the procedural
rules of the FAA, and by substantive California state law. We turn next to
the question of whether California substantive law, and specifically, section
1953, precludes arbitration of Barrelet’s tenancy related claims.

      As relevant here, section 1953, subdivision (a)(4)5 “voids as contrary to
public policy the waiver of procedural litigation rights in a dwelling lease or
rental agreement,” and “ ‘establishes the general rule that a tenant of
residential premises cannot validly agree, in a residential lease agreement, to
binding arbitration to resolve disputes regarding [their] rights and
obligations as a tenant.’ ” (Harris, supra, 49 Cal.App.5th at p. 852.)
“Enacted in 1975 and applying to all leases and rental agreements executed
on or after January 1, 1976, . . . section 1953 was essentially a codification of
California common law, and its application in general to residential leases is



5     Section 1953, subdivision (a)(4) provides:
       “(a) Any provision of a lease or rental agreement of a
       dwelling by which the lessee agrees to modify or waive any
       of the following rights shall be void as contrary to public
       policy:
           “(4) His procedural rights in litigation in any action
           involving his rights and obligations as a tenant.”
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beyond dispute.” (Lewis Operating Corp. v. Superior Court (2011) 200
Cal.App.4th 940, 944.) Thus, an agreement for binding arbitration in a lease
agreement is void as against public policy.
      “[D]espite the strong public policy favoring arbitration agreements, the
California Arbitration Act ‘does not prevent our Legislature from selectively
prohibiting arbitration in certain areas.” (Jaramillo v. JH Real Estate
Partners, Inc. (2003) 111 Cal.App.4th 394, 403.) Section 1953, subdivision
(a)(4) “precludes a residential lease agreement from including any
modification or waiver of a tenant’s ‘procedural rights in litigation in any
action involving his rights and obligations as a tenant.’ ” (Jaramillo, at
pp. 403–404.) Therefore, the “tenant cannot waive in advance, in a
residential lease agreement, the right to conduct discovery and to have a jury
trial in any affirmative action against the landlord that involves the tenant’s
rights or obligations.” (Id. at p. 404.) “Inherent in an arbitration agreement
is a waiver of any right to jury trial.” (Ibid.)
      Here, by its terms, the lease agreement is a residential rental
agreement and is therefore subject to the provisions of section 1953. It
names Liu as “Landlord” and Barrelet as “Tenant” and states that the
agreement is for Tenant to “rent” the real property from the “Landlord.” It
characterizes the payment from escrow as a “security deposit”. Further, the
lease agreement includes a “Rent Cap and Just Cause Eviction Addendum”
which references section 1947.12 and Code of Civil Procedure section 1161
(relating to unlawful detainer procedures between tenants and landlords).
The lease agreement specifically provides that:
           “Within 21 Days after Tenant vacates the Premises,
           Landlord shall:

           “(1) Furnish Tenant an itemized statement indicating the
           amount of any security deposit received and the basis for

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           its disposition and supporting documentation as required
           by California Civil Code § 1950.5(g); and

           “(2) Return any remaining portion of the security deposit
           to Tenant.”

      Particularly in light of the agreements’ choice of California law, it
makes little sense that the lease agreement would specifically reference
multiple specific tenant protections under California law without also

including Barrelet’s rights under section 1953.6
      In short, we see no reason why section 1953 should not apply here.
While the parties’ dispute as to the property’s condition may be subject to the
arbitration provision in the purchase agreement, any interpretation that
requires Barrelet to arbitrate his rights as a tenant—including most notably
his right to the return of his security deposit or an accounting of what was
withheld, as asserted in the complaint—is void under California substantive
law. (§ 1953, subd. (a)(4).)
      Liu asserts that such a conclusion is not in line with the intent of
section 1953, which is to protect tenants from unconscionable terms in rental
agreements. We disagree. Although it was part of a larger transaction,
Barrelet was still a tenant, per the terms of the leaseback provision. He
provided a significant security deposit as a tenant, not as part of the
residential sale transaction, and it appears undisputed that Liu has retained



6      In their amicus brief, the California Association of Realtors assert a
residential lease after sale is not equivalent to a “ordinary” lease, but do not
explain what constitutes an “ordinary” lease. Like any other transaction, the
terms may vary widely from one lease to another. If parties wish to structure
the agreement in a way that does not implicate tenancy laws, they may do so,
but here the documents themselves make clear that the lease agreement was
in fact a lease.

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that deposit. In resolving that specific conflict, Barrelet is as entitled to the
protections of California tenancy law as is any other tenant. Liu provides no
authority to the contrary.
                                 DISPOSITION
      The order is affirmed. Respondent is awarded costs on appeal.



                                                                      KELETY, J.

WE CONCUR:



DATO, Acting P. J.



BUCHANAN, J.




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